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                                                                                              FILED
                                                                                            U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT ARKANSAS
                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS                                     NOV 13 2018
                                WESTERN DIVISION                                   JA~ES W. ~RMACK, CLERK
                                                                                           ~~~-=~,..,...
                                                                                  .By. _ _....
                                                                                                           DEP CLERK
DR. HADRIAN NICHOLAS ARTHUR FRAVAL
AND SIL GLOBAL LIMITED                                                         PLAINTIFFS

V.                             CASE NO.       4 I~ -c.v- <&t/J./ - ~B
                                                 =


RICHARD MAYS, JR.; MAYS, BYRD AND
ASSOCIATES, P.A.; JOHN DOE 1; AND
JOHN DOES 2 THROUGH 6                                                          DEFENDANTS

                                             COMPLAINT           This case assigned to District Judge   Bt.tk.e.r
                                                     and to Magistrate Judge -~-~'-7""------
       Come the Plaintiffs, Dr. Hadrian Nicholas Arthur Fraval and SIL Global t1mited

(collectively "Plaintiffs"), by and through their undersigned counsel, and file this lawsuit against

the Defendants, Richard L. Mays, Jr.; Mays, Byrd and Associates, P.A.; John Doe 1; and John

Does 2 - 6, and for their Complaint state:

                                              PARTIES

        1.     Plaintiff Dr. Hadrian Nicholas Arthur Fraval ("Fraval") is an adult resident of

Melbourne, Victoria Australia, Passport No. E7595551.

       2.      Plaintiff SIL Global Limited ("SIL") is a Hong Kong corporation with offices

located at 1504, Bonham Trade Center, 50 Bonham Strand, Sheung Wan, Hong Kong.

       3.      Defendant Richard Mays, Jr. ("Mays, Jr."), Arkansas Bar No. 2010150, is an

adult resident of the Eastern District of Arkansas, believed to reside in or around Little Rock,

Arkansas, with his business office located at Mays, Byrd & Associates, P.A., 212 Center Street,

Suite 700, Little Rock, Arkansas 72201.

       4.      Defendant John Doe 1 is an adult resident of the Eastern District of Arkansas,

believed to reside in or about Little Rock, or adjacent areas.



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        5.       Defendant Mays, Byrd and Associates, P.A. ("MBA") is a for-profit corporation

with its principal place of business at 212 Center Street, Suite 700, Little Rock, Arkansas 72201.

        6.       Defendants John Does 2 through 6 are currently-unknown individual and business

entities believed to reside outside of the State of Arkansas and in some instances outside of the

United States.

                                      JURISDICTION AND VENUE

        7.       This Court has diversity jurisdiction over this matter pursuant to 28 U.S.C § 1332,

since there is complete diversity of citizenship between the parties and the amount in controversy

exceeds $75,000.

        8.       Additionally, this Court has federal question jurisdiction under 28 U.S.C. § 1331

since this matter includes allegations raising questions related to federal statutes. This Court also

hasjurisdictionpursuantto 18U.S.C. § 1964.

        9.       Venue is proper in the Eastern District of Arkansas based on 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to the claims in this case

occurred in this judicial district.

                                        FACTUAL ALLEGATIONS

        10.      Defendants have been engaged in a series of unlawful acts and omissions in the

factual manner set forth in the following Paragraphs.

        11.      In or about December of 2016, certain John Doe Defendants referred and

recommended Mays, Jr. and MBA to serve as the escrow agent ("the Escrow Agent") for

Plaintiffs in connection with the institutional funding being arranged for Plaintiffs' large Gos ford

and solar infrastructure project in Australia and California, USA ("the Project").




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          12.   The sum of five hundred thousand United States dollars ($500,000) ("the Funds")

was placed into an escrow account established with MBA and Mays, Jr. pursuant to a duly-

signed escrow agreement dated December 14, 2016 (the "Escrow Agreement"). A true and

correct copy of the Escrow Agreement is attached as Exhibit 1 and incorporated herein by

reference.

          13.   The Funds were understood and intended to serve as the initial security required

to obtain much larger institutional financing being arranged by certain John Doe Defendants

(namely John Does 2 through 6).

          14.   By mutual agreement the Funds were to be held in a "dedicated special purpose

client account in order that the funds may be held and confirmed for the benefit of a Third

Party."

          15.   The "third party" contemplated here was to be a major global financing institution

such as Merrill Lynch, which would serve as a financing partner for the infrastructure project

with Plaintiffs and their designated representatives.

          16.   The Escrow Agreement provided an initial term of 92 days for said special

purpose client account ("the Initial Term"), during which time the Funds were to be held in

MBA' s general trust account. Id.

          17.   On or about December 16, 2016, Plaintiffs wired the Funds to Mays, Jr and MBA

at the agreed-upon MBA Bank of America account, numbered xxxxxx-1860 (a true and correct

copy of which is attached as Exhibit 2 and incorporated by reference), receipt of which was

acknowledged by Mays, Jr. by letter dated December 20, 2016 which incorrectly read "2017" (a

true and correct copy of which is attached as Exhibit 3 and incorporated by reference).




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       18.     Pursuant to the Escrow Agreement, Mays, Jr. and MBA provided Plaintiffs with a

monthly Bank of America statement dated February 6, 2017 for the account of RLM JR TRUST

IV.   Said statement purported to show an available balance of $555,247.70, and a true and

correct copy of the document is attached hereto as Exhibit 4 and incorporated by reference.

       19.     The Initial Term ended in March of 2017, despite the assurances of certain John

Doe Defendants that third party funding for the Project was imminent.

       20.     Based upon assurances by Defendants that third party funding remained

imminent, and would close within weeks with Merrill Lynch or a similarly-situated major

institutional lender, Plaintiffs agreed that MBA and Mays, Jr. could continue to hold the Funds in

escrow under the terms of the Escrow Agreement.

       21.     In or about June or July 2017, the promised third party financing had still not

materialized, causing Plaintiffs to demand the return of the Funds pursuant to the terms of the

Escrow Agreement. Mays, Jr. acknowledged said request and said he would comply via an

email dated July 13, 2017, a true and correct copy of which is attached hereto as Exhibit 5 and

incorporated by reference.

       22.     In July of 2017, Plaintiffs withdrew this demand when presented by Mays, Jr. and

other Defendants with a Structured Product Term Sheet for purportedly providing Project

financing from Meryl Lynch (sic) to be arranged by certain John Doe Defendants. A true and

correct copy of the correspondence is attached hereto as Exhibit 6 and incorporated by reference.

       23.     By September of 2017 the major Project financing had still not closed, despite the

exchange of various draft documents and repeated Defendants' assurances that closure was

imminent.




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       24.     On September 13, 2017, Fraval again demanded the return of the Funds, which

demand was acknowledged by Mays, Jr. in his September 14, 2017 email, a true and correct

copy of which is attached hereto as Exhibit 7.

       25.     Nevertheless, a day later Mays, Jr. informed Plaintiffs that the Funds were under

"administrative hold" and could not be released at that time. Id.

       26.     Any such "administrative hold," if indeed one in fact ever existed, was done

without Plaintiffs' knowledge or consent.

       27.     In October of 2017, Mays, Jr. assured Plaintiffs that the "administrative hold" was

being released and that the Funds would be returned immediately.

       28.     However, the Funds were never returned and in November of 2017 Mays, Jr

blamed the delay on unspecified "compliance" problems.          A true and correct copy of the

correspondence is attached as Exhibit 8 and incorporated by reference.

       29.     In December of 2017, Mays, Jr. and the other Defendants demanded a $5,000

payment for expenses before the Funds could be returned, which payment was made by Plaintiffs

and their representatives.

       30.     For the ensuing four months, from January through April of 2018, Plaintiffs

repeatedly demanded return of the Funds only to be met with a continuing barrage of false

assurances and bogus explanations as to why the Funds were not returned.

       31.     In April of 2018, Plaintiffs retained U.S. counsel to secure the return of the Funds

from Mays, Jr. and other Defendants both named and as yet unnamed and unknown. Demands

were made upon Mays Jr., John Doe 1, and MBA for the return of the Funds, but with no

success. A true and correct copy of this correspondence is attached as Exhibit 9 and Exhibit 10,

and incorporated by reference.




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       32.        In the course of discussions during the months that followed, Mays, Jr. provided

various documents from various John Doe Defendants purporting to explain the delays in

returning the Funds and/or assuring the return of the Funds. None of these explanations or

assurances ever proved to be truthful or meritorious.

       33.        Finally, Mays, Jr. provided "proof' to Plaintiffs that the Funds were safe and still

being held in escrow in the form of a bank statement from Toronto Dominion Bank in the sum of

$500,000.    A true and correct copy of the document is attached hereto as Exhibit 11 and

incorporated herein by reference.

       34.        Upon investigation that bank statement proved to be fraudulent, as was

subsequently admitted by Mays, Jr. to Plaintiffs' representative.

       35.        From the date of Plaintiffs' original transfer of the Funds to Mays, Jr. and MBA

to the present date, various John Doe Defendants involved with Mays, Jr. have assured Plaintiffs

that Mays, Jr. and MBA were honest and reliable escrow agents and attorneys and that the Funds

would eventually be returned. As of the time of filing this lawsuit, those statements remain

palpably false.

       36.        At no time have Plaintiffs modified or amended the terms of the Escrow

Agreement to permit the Defendants, individually or collectively, to withdraw or transfer the

Funds without the express written consent of the Plaintiffs, which consent was never requested at

any time and has not been granted at any time.

                          LEGAL AND REGULATORY FRAMEWORK

       37.        While Mays, Jr. may seemingly have been the primary perpetrator of the

misappropriation of monies, absolutely none of it could have taken place without the improper

acts or omissions of John Doe 1, MBA, and others.




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       38.        Specifically, an escrow is essentially a three-party contract which is created when

a grantor (i.e., Plaintiffs) delivers money to a third person (i.e., Mays, Jr. and MBA) with

instructions to hold it safely to serve as security for a third party transaction upon the happening

of certain conditions.

       39.        By definition escrow means neutral and independent from the parties to the

transaction. In this case, for the reasons stated above Mays, Jr. and MBA were not neutral and,

to the contrary, were closely intertwined with various other presently-unknown Defendants.

       40.        It is well-established that where a person accepts the function as escrow agent for

certain parties, the agency creates a relationship of confidence which he could not violate or

pervert to his own advantage or the detriment of either principal. Collins v. Heitman, 225 Ark.

666, 284 S.W.2d 628 (1956); Wochos v. Woolverton, 2010 Ark. App. 802, 378 S.W.3d 280

(2010) (an escrow agent is the agent of both the buyer and seller and is charged with the duty of

carrying out the terms and conditions of the escrow agreement).

       41.        Moreover, an agent, regardless of how innocent his intentions may be, cannot

place himself in a situation where personal interests conflict with the duties owed his principal.

Collins, supra.

       42.        Everyone, whether designated as agent, trustee, servant, or otherwise, who is

under a contract or other legal obligation to represent or act for another in any particular business

or line of business, or for any valuable purpose, must be loyal and faithful to the interest of such

other in respect to such interest or purpose. Id.

       43.        He cannot lawfully serve or acquire any private interest of his own in opposition

to it. This is a rule of common sense and honesty, as well as law. Id.




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         44.    On this note, an escrow agent is in a confidential relationship with the other

parties to an escrow agreement, which if such a relationship exists it imposes a duty of disclosure

on the escrow agent. Badger Capital, LLC v. Chambers Bank of N. Ark., 650 F.3d 1125 (8 th Cir.

2011).

         45.    This is because under Arkansas law, an escrow agent becomes agent of both

parties and this agency create a fiduciary relationship. Patel v. Gannaway, 726 F.2d 382 (8th

Cir. 1984).

         46.    Despite the existence of the Escrow Agreement, Mays, Jr. and MBA unilaterally

and impermissibly altered the terms of this contract by distributing the monies at their unilateral

direction.

         47.    However, once a valid deposit has been made in accordance with the contract of

the parties, neither party can revoke the escrow during the escrow period without the consent of

the other. However, that is precisely what the Defendants did when they unilaterally canceled

and made a nullity of their obligations to Plaintiffs.

         48.    When money is delivered to an escrow, no legal title. technically passes until the

condition has been performed or the event has occurred upon which it is to be delivered to the

grantee.

         49.    However, in this instance the condition was not performed and the event never

occurred, such that at all times relevant the money in question was still Plaintiffs' money because

no legal title had officially passed.

         50.    Put another way, title to the subject of the escrow does not pass title prior to the

performance of the conditions.          Von Mosch v. Waldrop, 177 Ark. 903, 8 S.W.2d (1928);

Mansfield Lumber Co. v. Gravette, 177 Ark. 31, 5 S.W.2d 726 (1928).




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       51.     A person standing in a fiduciary relationship may be held liable for any conduct

that breaches a duty imposed by the fiduciary relationship. Id.

       52.     Moreover, regardless of the express terms of an agreement, a fiduciary may be

held liable for conduct that does not meet the requisite standards of fair dealing, good faith,

honesty, and loyalty. Id.

       53.     When the condition upon which money deposited in escrow is to be delivered is

not complied with, the depositary is obligated to redeliver the money to the depositor. In this

instance Mays, Jr. and MBA failed to do so.

       54.     Since the depositary is bound by the terms of the deposit and charged with the

duties voluntarily assumed by them, liability attaches to them for failing to follow their

instructions, whether done deliberately or negligently.

       55.     Multiple long-standing Arkansas cases hold to this effect. See, e.g., Bank of

Rison v. Layne & Bowler Co., 173 Ark. 368, 292 S.W. 126 (1927) (where money on deposit in

escrow was inappropriately paid out the bank was liable, with interest, to the plaintiff); Rosell v.

Pulaski Bank & Trust Co., 265 Ark. 847, 582 S.W.2d 1 (1979) (escrow agent was liable for

value of a CD which it improperly released to a party); Perkins v. Clinton State Bank, 593 F.2d

327 (8th Cir. 1979) (bank's breach of fiduciary duty as escrow agent in negligently releasing

originally escrowed documents constituted proximate cause of vendors' loss).

       56.     Moreover, an escrow agent is personally liable for commingling escrow funds

with other funds without authority.

       57.     Even if Mays, Jr. and MBA claim that they are supposedly innocent parties to the

other unknown Defendants' actions, they are still nevertheless liable since they have suffered no

loss and because of the principle that when one of two innocent persons must suffer from the




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wrongful act of a third, the loss should be borne by the party who put the wrongdoer in a position

of trust and confidence and thus enabled him to perpetrate the wrong.

       58.     Indeed, a depositary who breaches their duties to the parties to the escrow

agreement may be held liable either in tort or for breach of contract, or for both simultaneously.

                                     CAUSES OF ACTION

                                      Breach Of Contract

       59.     As described above, the actions and inactions of Mays, Jr. and MBA constitute a

breach of contract.    Specifically, the Escrow Agreement was materially breached by these

Defendants.

       60.     In addition to being responsible for the damages stemming from such breaches,

Defendants are also responsible for paying Plaintiffs' attorney's fees and costs pursuant to Ark.

Code Ann.§ 16-22-308.

                                   Breach Of Fiduciary Duty

       61.     Mays, Jr. and MBA owed fiduciary duties to Plaintiffs, including but not limited

to acting in and protecting their interests, safeguarding their money, and not allowing them to be

harmed.

       62.     For the reasons stated previously, these Defendants breached their fiduciary duties

and are liable to Plaintiffs in tort. They are responsible for the actual damages that they caused,

as well as punitive damages for their intentional and knowing, malicious, and reckless conduct.

                                           Conversion

       63.     As described above, Mays, Jr. and MBA engaged in actions which effectively

constituted conversion, which is the wrongful or unauthorized exercise of dominion or control

over another person's property.




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         64.    More specifically, they participated in wrongful conduct which operated as a

distinct act of dominion and control over Plaintiffs' entrusted property that was inconsistent with

their rights as the owner of the property.

         65.    Plaintiffs suffered injury as a result of these Defendants' actions and should be

awarded compensatory damages as well as punitive damages in an amount to be determined at

trial.

                                         Civil Conspiracy

         66.    The foregoing actions and conduct by the Defendants, individually and

collectively, constitutes a civil conspiracy, which (1) is an agreement to accomplish a purpose

that is unlawful or oppressive, or alternatively (2) is an effort to accomplish, by unlawful or

oppressive means, a purpose that is not in itself unlawful or oppressive.

         67.    Upon information and belief, the above-referenced Defendants knowingly entered

into this conspiracy with other presently-unknown Defendants.

         68.    One or more of the above-referenced Defendants committed one or more overt

acts in furtherance of the alleged conspiracy.

         69.    The above-referenced Defendants, in entering into the conspiracy, had the specific

intent to harm Plaintiffs.

         70.    Plaintiffs suffered damages as a result, which should be paid by the Defendants.

                                  Fraud And Misrepresentation

         71.   As described above, Defendants' actions and inactions constituted actionable

fraud.

         72.    This included them knowingly making multiple false representations of past or

present material fact. Even if some false representations were not intentionally or knowingly




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made in every respect, they still had a fraudulent effect and therefore still constituted

constructive fraud if not technically rising to the level of actual fraud.

        73.     These actions and representations were made with the intent to induce reliance by

Plaintiffs, which caused them to act or not act depending upon the facts and circumstances.

        74.     Further, by staying silent, failing or refusing to take action, and effectively

burying their heads in the sand, Defendants engaged in fraud and/or constructive fraud because

they had an affirmative duty to speak and/or act.

        75.     Such facts and circumstances also constitute and include affirmative acts of

fraudulent concealment which effectively tolled any applicable statute of limitations.

        76.     Indeed, when the very people who are supposed to be looking out for and

protecting Plaintiffs' interests are the same people who are actively and passively taking

advantage of them through wrongful actions or inactions, Plaintiffs were not in a position to

timely take legal action.

        77.     Plaintiffs were injured as a result of the Defendants' actual and constructive fraud,

and they should pay compensatory and punitive damages as a result.

                   Violation Of The Arkansas Deceptive Trade Practices Act

        78.     Ark. Code Ann. § 4-88-l 13{f) provides a private cause of action under the

Arkansas Deceptive Trade Practices Act to those who have been harmed and suffered actual

financial loss in connection with their reliance upon trade practices that are deceptive,

unconscionable, or unlawful.

        79.     For the reasons stated above, all of the Defendants were engaged in such trade

practices with regard to the transaction involving Plaintiffs, and engaged in untrue statements of

material fact and other wrongful acts.




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                                     Civil Action By Crime Victim

        80.    Ark. Code Ann. § 16-118-107(a)(l) provides that "[a]ny person injured or

damaged by reason of conduct of another person that would constitute a felony under Arkansas

law may file a civil action to recover damages based on the conduct."

        81.    Under Ark. Code Ann. § 16-118-107(c) "[t]he remedy provided in this section

shall be in addition to any other remedies in law or equity."

        82.    Plaintiffs are entitled to bring this action, because under Ark. Code Ann. § 16-

118-107(b) "[t]he action may be maintained by the person who was injured or damaged or, after

the person's death, the executor, administrator, or representative of his or her estate."

        83.    Per Ark. Code Ann. § 16-118-107(a)(2) "[t]he burden of proof for showing

conduct that constituted a felony shall be a preponderance of the evidence[,]" and under Ark.

Code Ann. § 16-118-107(a)(3) "[i]f the person who is injured or damaged prevails, he or she

shall be entitled to recover costs and attorney's fees."

        84.    With this in mind, the preponderance of the evidence establishes that Defendants'

conduct violated multiple Arkansas criminal laws, including but not limited to Ark. Code Ann. §

5-36-103(b) (providing that theft of property is a Class B felony if $25,000 or more was

knowingly taken, transferred, etc. from another person with thepurpose of depriving them of it,

or by use of deception or threat).

        85.    The preponderance of the evidence also establishes that Defendants' conduct was

felonious and violated Arkansas criminal laws, including but not limited to Ark. Code Ann. § 5-

36-106 (providing that theft by receiving is a Class B felony if $25,000 or more was received,

retained or disposed of when the person knew that the property was stolen or had good reason to

believe that the property was stolen; the unexplained possession or control by the person of




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recently stolen property gives rise to a presumption that a person knows or believes that property

was stolen).

                 Constructive Trust And Equitable Lien (Unjust Enrichment)

       86.      A constructive trust should be imposed upon and serve as an equitable lien against

any property purchased with Plaintiffs' money, as well as against the transferees of their money

whose names are unknown at this time.

       87.      Specifically, a constructive trust is based upon unjust enrichment and may be

applied when one who holds title to property agreed to hold the property for the benefit of

another.

               Civil RICO (Racketeer Influence And Corrupt Organization Act)

       88.      Defendants have engaged in a pattern of racketeering activity connected to the

acquisition, establishment, conduct or control of their respective enterprises. In furtherance of

their pattern of racketeering activity, Defendants have taken multiple actions constituting wire

fraud under 18 U.S.C. § 1343, which amounts to or poses a threat to continued criminal activity.

       89.      Defendants' wire fraud consists of their scheme or artifice to defraud or to obtain

money or property by means of false pretenses, representations, or promises; their use of the

interstate wires for the purpose of executing the scheme; and a specific intent to defraud either by

devising, participating in or abetting the scheme.

       90.      The actions of Defendants constitute a conspuacy under RICO because

Defendants conspired to commit these RICO offenses and acted in furtherance thereof.

       91.      Under 18 U.S.C. § 1964(c) Plaintiffs and all others similarly-situated are entitled

to recover threefold their damages plus costs and attorney fees from Defendants.

                         Negligence (Including Negligent Supervision)




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       92.     Defendants John Doe 1 and MBA engaged in negligence to the extent that they

did not engage in intentional, tortious, fraudulent or criminal conduct.

       93.     Specifically, John Doe 1 is believed to be a senior lawyer of long experience who

holds, or at relevant times held, a senior management position in MBA, vested with the

experience, responsibility and abilities needed to adequately supervise its younger, less-

experienced attorneys, including Mays, Jr.

       94.     In this capacity, John Doe 1 and MBA knew, or should have known, about Mays,

Jr. 's history of, and propensity for, misconduct, including by way of example and not limitation,

(i) Mays, Jr.' s serious ethics violations as a member of the Arkansas Parole Board that led to his

removal from the Parole Board and being severely disciplined by the Arkansas Supreme Court

Committee on Professional Conduct, (ii) Mays, Jr.'s conduct giving rise to at least two other civil

lawsuits alleging serious financial improprieties stemming from escrow agreements similar to the

one at issue in this case, and captioned as (a) Viva La Vegan Grocery, Inc. and Isaak Iftikhar v.

Richard Mays, Jr.; Mays, Byrd & Associates, P.A.; et al., Case No. 60CV-17-7189 (Pulaski

County, Arkansas Circuit Court) and (b) Terence Branch and Strategic Vision Corporation v.

Richard Mays, Jr. and Mays, Byrd & Associates, P.A., Case No. 60CV-18-3655 (Pulaski

County, Arkansas Circuit Court).

       95.     As a result of these Defendants' failing to supervise Mays, Jr. in a professional

and responsible manner, including their failure to so much as acknowledge, must less act upon,

Plaintiff Fraval's repeated entreaties for their assistance, these Defendants' conduct individually

and collectively fell below the standard of care owed and constituted a breach of their duty to

Plaintiffs, including the duty of care that arises between an attorney and fiduciary and their




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client. These Defendants knew or should have known that their conduct would result in injury to

the Plaintiffs.

        96.       Plaintiffs were injured by Defendants' negligence and such conduct proximately

caused damages for which they owe appropriate compensation.

                                         Legal Malpractice

        97.       The allegations of the foregoing paragraphs are realleged and incorporated herein

as if fully set forth word for word.

        98.       By negligence and failing to perform their duties as the escrow agent, John Doe 1

and MBA also breached the fiduciary duties that were owed to Plaintiffs.

        99.       Because of this breach, Plaintiffs have lost the use of $500,000.00 (five hundred

thousand dollars) which they deposited into MBA's trust account, plus interest thereon, and the

payment of $5,000 for expenses.

        100.      Plaintiffs have suffered damges due to Defendants' actions and inactions.

        101.      Further, Plaintiffs lost the opportunity for project funding which would have

funded Plaintiffs Gosford - Solar development project.

        102.      Plaintiffs suffered damages attributable to a loss of business which has not yet

been determined but which will be determined by the jury at trial.

                                  Request For Monetary Damages

        103.      By reason of Defendants' actions alleged herein, Plaintiffs have suffered and will

continue to suffer damages to their business, reputation, and goodwill and have profits that

Plaintiffs would have made but for Defendants' actions.




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       104.    Plaintiffs request that this Court award damages to Plaintiffs in an amount equal

to or greater than the amount of actual damages suffered by Plaintiffs and any higher amount as

the Court may award in its discretion.

       105.    Plaintiffs seek any and all damages due as a result of Defendants' violation of the

Racketeer Influenced and Corrupt Organizations Act, specifically treble the amount of actual

damages suffered by Plaintiffs pursuant to 18 U.S.C. § 1964(c).

       106.    Defendants' actions and inactions were intentional, knowing, voluntary, malicious

and reckless, and an award of punitive damages should be imposed against them in addition to

compensatory damages.

                                 DEMAND FOR JURY TRIAL

       107.    Plaintiffs demand a jury trial in this action.

       WHEREFORE, Plaintiffs pray for entry of a Judgment against Defendants, individually

and collectively, and jointly and severally, for compensatory, treble and punitive damages, for

injunctive relief, for their attorneys' fees and costs, for pre-judgment and post-judgment interest

at the maximum rates under applicable law, and for all other just and proper relief to which they

may be entitled.




                                               Matthew R. House, Ark.
                                               James, House, Downing & Lueken, P.A.
                                               Post Office Box 3585
                                               801 West Third Street
                                               Little Rock, Arkansas 72203
                                               501-372-6555 Telephone
                                               501-372-6333 Facsimile
                                               mhouse@jamesandhouse.com
                                               www.jameshousedowning.com

                                               ATTORNEYS FOR PLAINTIFFS



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          •
MAYS
B V RD
          -
ESCROW AGREEMENT

Parties to this Escrow: This escrow Agreement Is established Mays Byrd & Associates, P.A. by
Attorney Rlchard L Mays Jr. referred to as {"Escrow Agent") and Dr. 'Hadrian Nicholas Arthur Fraval
for and on behalf of SIL Global Limited referred to as tClient•)

Purpose of this Escrow:

1. Client desires to send funds to Escrow Agents Trust Account and to have Escrow Agent hold said
   funds in a dedicated special purpose client account in order that funds may be held and •Confirmed
   for benefit of a Tihird Party. This Agreement will continue as long as funds are 1ln Account under
   Attorney control.
2. The account shal'I be -p'laced under administrative hold for a term of 92 days from January 01,
   2017 plus time taken for delivery, receipt and clearance of funds, thereafter said term, the
   Administration Hold shalJ be Ufted and funds returned to the lnsfl'uction of Client
3. Client desires that after the said term, Escrow Agent shall return said funds to the Attorney's
   general Trust Account, whereupon Client may request the funds be disbursed ,either by check,
   cashiers check, or wire transfer.

Escrow Services

All funds received into escrow shall first be deposited In a general Trust Account of Richard L.
Mays Jr, Esq. of Mays Byrd & Associates, P.A. unless otherwise instructed. Then upon clearing, a
dedicated special purpose client escrow account shall be opened and cleared funds wiU be deposited
therein. These funds, while under administrative hold may be conflnned to a third Party, but may not
be removed from the dedicated special purpose client escrow account and shall never be placed at
risk. A bank statement, with date of issue thereon, of the special purpose client escrow account shall
be delivered via email by Attorney Richard L. Mays Jr., Esq. each month to Client

Escrow Agent is not a party to any other transactions client has. Escrow Agent enters into this
Agreement solely as a provider of escrow services only. Escrow agent shall be held harmless from
any legal actions solely as a provider of escrow services only. Escrow Agent shall be held harmless
from any legal actions ta:ken against the Client for using the service provided for unlaMul purposes.
Escrow Agent acts as depository only and is not responsible or liable in any manner whatsoever for
the sufficiency, correctness, genuineness or validity of any business venture undertaken by the
Client. Escrow Agent cannot disclose any information about funds in escrow unless given permission
by Client.

Client hereby Indemnifies and holds Escrow Agent harmless against any loss, liability, damage,
                                                                                                                                   en
                                                                                                                                   LL.1-
cost or expense, including reasonable attorney's fees, (a) related any way to Escrow Agent's acting                                u..-
                                                                                                                                   -m
upon any notice, request, waiver, coasent, receipt or other paper or document believed by Escrow                                   1--
                                                                                                                                   z:Z:
                                                                                                                                   -><
                                                                                                                                   ~w
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                       C~nti<2 Pl 1.:::;:               21; C~t1t,~r :d           TEL 501.3 72.6 303    TOLL-FREE 300.22! 15 U
                       7 t •1 f I ,, ,1 , , l I t t I , R ><k ,\ R I 1 l •J I    !=AX 501.399.9230      MAYSBYRDLAW.COM


     RICHARD L. MAYS, SR.               ARKIE BYRD                              TIFFANY MAYS 0°GUINN    RICMARD L, MAYS, JR.
     RMAVS@MAVSBVRDLAW.COM              ABVRD@MAVSBVRDLAW.COM                   TMAVS@MAVSBVRDLAW,COM   RMAYSJA@MAVSBVADLAW.CC,M
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Agent to be submitted by Client or any other proper person and {b) incurred In connection with any
act or thing done hereunder.

Escrow Agent may consult with legal counsel In the event of any dispute or question as to the
construction of these instructions or Escrow Agent's duties thereunder, and Escrow Agent shall incur
no liability and shall be fully protected In acting in accordance with the opinion and instructions of
counsel.

In consideration of acceptance of this appointment by Escrow Agent, the Client agrees to
indemnify and hold harmless as to any liability Incurred by the Escrow Agent to any person, firm or
corporation by reason of its having accepted same or In carrying out any of the terms hereof, and to
reimburse Escrow Agent for all Its expenses, Including among other things, counsel fees and court
costs incurred by reason of its position or actions taken pursuant to these escrow instructions. The
Client hereby agrees that the Escrow Agent shall not be liable to anyone for any actions taken by
Escrow Agent pursuant to the terms hereof.

Escrow Agent Is hereby authorized, In Its exclusive direction, to obey and comply with all writs,
orders, judgments or decrees Issued by any court or administrative agency affecting any money held
by Escrow Agent.                                  ·

All funds submitted to Escrow Agent under this agreement are known, are clean and clear of
no,i-crimlnal origin and.are for Immediate credit-same day value/instant cash upon receipt. If
for any reason the Escrow Agent must receive cahlers checks or money orders, those funds
wlll not be available for disbursement until the funds have been cleared by the bank of
deposit.

These instructions may be executed In counterparts, each of which so executed shall be deemed
as original, Irrespective of the date of its execution and delivery, and said counterparts together shall
constitute one and the same instrument.

Account Details For Delivery Of Funds:

Bank Name: Bank of America AR-101-0101
Bank Address: 200 West Capital Ave, Little Rock, Arkansas 72201
Account Name: Mays Byrd and Associates IOLTA IV
Account Number: 4161321860
Swift: BOFAUS3N
Routing Number: 026009593
Bank Officer: Danita Watson - Banking Central Manager
Bank Tel: +1 501 212 1060
Bank Fax: +1 501 2121076




SIGNATURE PAGE TO FOLLOW
           Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 20 of 36




Client




Dr. Hadrian Nicholas Arthur Fraval
Director
SIL GJobal Limited
1504, Bonham Trade Centre, 50 Bonham S1rand, Sheung Wan Hong Kong
Australian Passport Number: E7595551




Escrow Agent




~/lli
Richard L Mays Jr. Esq.
Mays Byrd & Associates
212 Center St. Centre Bldg,   ?1h Floor
Litt.le Rock, AR 72201


Date: December 1411', 2016
                      Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 21 of 36
12/20/2016                                   Bank of America I Online Banking I Accounts I Account Details I Account Activity

Bank of America •                                                                                                           Online Hank.ing

RLM JR TRUST IV: Account Activity Transaction Details



                               Post date:            12/16/2016

                                 Amount:             500,010.00

                                       Type:         Credit

                            Description:             WIRE TYPE:WIRE IN DATE: 161216 TIME:0501
                                                     ET TRN: 2016121600093458
                                                     SEQ: 1601792351JX/118572 ORIG: RO FIN
                                                     AUSTRALIA PTY LTD ID: 201014USD1 SND BK:
                                                     JPMORGAN CHASE BANK, N.A. ID:0002 PMT
                                                     DET:SWF OF 1 6/12/16 ROFIN AUSTRALIA
                                                     ESCROW AGREEMENT




                                                                                                                                    PLAINTIFF'S
                                                                                                                                      EXHIBIT
                                                                                                                                I      2..

https://secure.bankofamerica.com/myaccounts/brain/redirect.go?source=overview&target=acctDetails&adx=2a73fab4e57c04175736a1c408cb3c5522efe14f932...   1/1
          Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 22 of 36



          •
MAYS
B V RD
          -
                                                      December 20, 2017

      SIL Global Limited
      Mr Hadrian N. Fravel
      1504 Bonham Trade Centre
      50 Bonham Strand
      Sheung Wan
      Hlong kong

      c/o GS Global Vision Foundation

       REF: RECEIPT OF FUNDS TO IOL TA ACCOUNT

       Dear Mr Fravel!,

      We confirm receipt of your$ 500 000.00 (Five Hundred United States Dollar) to our
      IOLTA account(see attached). Your transaction with the G5 Global Vision Foundation
      will only commence toward the end of January 2017. As our office closes on
      December 23, 2016 and will only reopen on January 16th 2017, it will be only at this
      time that we will be able to prepare the dedicated special purpose client escrow
      account Till then your funds will remain in om IOl TA account.




                                                                                                                 PLAINTIFF'S
                                                                                                                   EXHIBIT
                                                                                                            I           3
                          Centre Place • 212 Center St.             TEL 501 ..H2.6.\O.3             TOLL·Fll[[ 1100.7?/.l'.,?'i
                          7th Floor , little Rock, AR 72201         !=AX 50l.W9.97/lO               MAYSBYRDLAW.COM


  AI C MA A 0 L . M A Y S , S A •    A AKI E B Y A0               T I FF A N V M A VS O G U I N N   A IC MA A0 L • M A V S, J A.
  llMAYS ~MAYSBYR0LAW.COM            ABYRD•'MAYSBYllDLAW.COM      TMAYS.,<Mt,YSBYA0L,\W,COM         AMAYSJRVMAYSBYllDLAW.COM
                                       Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 23 of 36




                     216/2017                                              ACOO<Jnt Details r>r,nl. Friendly




                         RLM JR TRUST IV: Account Activity
                         Balance Summary:$555,247.70 (available as of today 02/06/2017)
                         View: today 02/06/2017
                    I
                         All Transactions
                   [±]
                     .-----------------------------                                                                                   $Availatllc
                          Date              Descnpt1on                                                         Status     $Amount
                                                                                                                                        !Mii'!l1CC

                         Amount included in Available Balance

                          01/27/2017        Check 1397                                                           C       -772.00    555,247.70

                          01/26/2017        Check 1396                                                           C       -594.00    556,019.70

                          01/26/2017        Online Banking transfer to CH K 1030 Confirmation#                   C      -1,000.00   556,613.70
                                            2246139962


                          01/26/2017        Deposit                                                              C      1,821.00    557,613.70

                          01/25/2017        Check 1393                                                           C      -1,497.50   559,434.70

tabbies"
           .,,r-          01/24/2017        Check 1394                                                           C       -807.50    560,932.20


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          Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 24 of 36




From: Richard Mays, Jr. <rmaysjr@maysbyrdlaw.com>
Sent: Thursday, July 13, 2017 2:51 AM
To: Hadrian Fraval <Hadrian@rofin.com.au>
Subject: Request for return of funds

Mr. Fraval,

I am in receipt of your email. However, I am currently out of the state for business.
Please also make a note of my email address: rmaysjr@maysbyrdlaw.com. I shall be
back in approximately 8-10 days. Once I return I will tend to the business of returning
those funds. I apologize for any inconvenience at this time ..

Sincerely,

Richard Mays Jr.



Richard L. Mays Jr, Esq.

MAYS, BYRD & AsSOCIATES, P.A.


212 Center St. ;7th Floor

Little Rock, Arkansas 72201-3801

tel.: (501) 372-6303 Ifax: (501) 399-9280 I toll free: (Boo) 227-1529

www.rmaysJr.@mqysbyrdlaw,GQm

www.maysbyrdlaw.com




                                                                             PLAINTIFF'S
                                                                               EXHIBIT
                                                                          I s
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DRAFT - AWAITING MERYL LYNCH LEGAL AND COMPLIANCE COMPLETING DOCMENT


JULY 27TH 2017



STRUCTURED PRODUCT TERM SHEET
Stricktly Private and Confidential

TERMS AND CONDITIONS OF STRUCTURED PRODUCT

5 VEAR INTEREST STRIP LINKED TO STANDARD              & POORS RATED "AA" OR BETTER ISSUER OF
CERTIFICATE OF DEPOSIT

100% PRINCIPLE PROTECTED


This following product is an offering in the form of an Interest Strip linked to a Certificate of Deposit
issued by a U.S. bank with a Standard & Poors rating of "AA" or better. The investor receives a 10% (ten
percent) discount on the issue price of the interest strip and receives his repayment in the following
manner: An annual payment of 3% interest calculated on the discounted issue price and 8% of the
principle paid annually, totalling 40% over 5 years, with the remaining 60% of the discounted issue price
at the end of the 5 year term; giving the investor a cumulative yield of 15% (fifteen percent) over 5
years. All payments are made annually in arrears and are drawn from the interest payments on the
Certificate of Deposit.



Certificate of Deposit Issuer:          U.S. Bank with Standard & Poors rating of "AA" or better. Issuer

                                        will be determined subject to investors required volume.

Arranger:                               The Royal Swiss Credit Union and Capital Trust ('   \iith!ii't2f-j'').
Intermediary:                           Merryl Lynch.

Term of Certificate of Deposit:         Five (5) Years.

Interest Rate:                          Fixed at 3% per annum payable in arrears.

Issue Price of Interest Strip:          90%
                                                                                                      PLAINTIFF'S
                                                                                                        EXHIBIT
Yield:                                  Cumulative 15% over the term of 5 years.
                                                                                                  i
Currency:                               USD

Contracted Amount for Interest Strips: Minimum USD 30,000,000 and Maximum USD 100,000,000
                                                                                                                 "
           Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 26 of 36




Rolls and Extentions:            As agreed.

Description/Method:              The CD will be deposited by       Rtftii}'f•fi
                                                                              with Merrill Lynch.
                                 Principal with respect to the CD will be credited to one account
                                 and all interest entitlement in respect of the CD will be credited
                                 to a separate, second account at Merrill Lynch.

                                 The investor will enter into a Pledged Collateral Account Control
                                 Agreement with respect to this second account by and amoung
                                 the investor, Merrill Lynch anoMfii'f'l•i· The investor will be
                                 the creditor and secured    party and ri•ff:ihi will be the
                                 debtor. A copy of the Pledged Collateral Account Control
                                 Agreement is attached as Exhibit A.


                                 Pursuant to the Pledged Collateral Account Control Agreement,
                                 the investor will receive distributions directly from Merrill Lynch
                                 to an account specified by the investor with respect to all
                                 interest payments received on the Certificate of Deposit and
                                 credited to this account.

Governing Law:                   [State of New York], USA.

Risks:                           The sole obliger for the interest payments is the Certificate of
                                 Deposit Issuer.    Accordingly, the investor is relying on the
                                 creditworthiness of the Certificate of Deposit Issuer for all
                                 payments to be received on this investment. The investor will
                                 have no recourse to Merrill Lynch or    toWJiifi'J•j-
U.S. Tax Treatment:              Original Issue Discount year-by-year.

                                 Non-U.S. holders: to avoid 30% withholding, must submit
                                 appropriate forms to [Merrill Lynch]

Selling Restrictions:            Sales only to Qualified Institutional Buyers (QIB's) as defined in
                                 Rule 144A under the Securities Act of 1933, as amended.

Transfer Restrictions:           Only to Qualified Institutional Buyers.

Listing:                         No

Public Offer:                    No

Closing Procedures:              Desk to Desk
        Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 27 of 36




Launch Date:                             August 31, 2017

Warrenties and disclaimers: Are being prepare by Merry/ Lynch

All enquiries are to be directed in writing to:




                                                                         •
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From: Hadrian Fraval
Sent: Wednesday, 13 September 2017 12: 12 PM
To: 'Richard Mays, Jr. (c01_gysjr@mays1Jyrd!Qw.com)'
Cc: 'chrlstiC;:!n.moore@gSgvfoundation,c:om'
Subject: Return of SILG Escrow funds

Dear Mr. Mays Jr,

Please find attached our request to return funds held in escrow on our behalf. The
Banking details are detailed in the attached letter.
Thank you for your co-operation.
Yours Sincerely
Hadrian Fraval
Director SILG


On Sep 13, 2017, at 6:49 PM, Hadrian Fraval <Hadrian@rofin.com.au> wrote:

Dear Mr. Mays Jr,

Please confirm receipt of my e-mail yesterday and that fund's return has been actioned.
This is now urgent.
Thank you
Hadrian


From: Richard Mays, Jr. [mailto:rmaysjr@maysbyrdlaw.com]
Sent: Thursday, 14 September 2017 10:30 AM
To: Hadrian Fraval
Subject: Re: URGENT - Return of SILG Escrow funds

Mr. Fraval,
Im currently out of the country. I do acknowledge receipt of email. I will follow up with
you once I return.

Sincerely,
Richard

On Sep 13, 2017, at 9:21 PM, Hadrian Fraval <Hadrian@rofin.com.au> wrote:

Mr. Mays Jr,

Surely in today's electronic age you can arrange transfer from a remote location. I need
this transfer to take place URGENTLY.
Regards
Hadrian
                                                                                PLAINTIFF'S
                                                                                  EXHIBIT
                                                                            I       J
        Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 29 of 36




From: Richard Mays, Jr. <rmaysjr@maysbyrdlaw.com>
Sent: Friday, September 15, 2017 10:09 PM
To: Hadrian Fraval <Hadrian@rofin.com.au>
Subject: Re: URGENT - Return of SILG Escrow funds

Mr. Fraval,

I understand that the G5 Global Vision Foundation had informed you
that all funds in escrow are now under administrative hold as it is this
administrative hold that underpins the trading through the issuing of the
Certificates of Deposit where the interest strips are sold to exit buyers,
thereby enabling the project funding to commence. I also understand
that you have a copy of the Term Sheet given to you by the
G5GVF. The Arranger is appointing several financial brokerages who
will now take the product to market. Until the exit of the first tranche of
interest strips is complete all funds in escrow must remain under
administrative hold.

I ask that you refer directly to the G5 Global Vision Foundation who
will be able to further advise you.

Sincerely,

Richard
             Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 30 of 36



From: Richard Mays, Jr. <rmaysjr@maysbyrdlaw.com>
Sent: Thursday, October 26, 2017 6:38 AM
To: Hadrian Fraval <Hadrian@rofin.com.au>
Subject: Update for return of funds

Mr. Fraval,

I hope that your day is going well. I want to update you on what I have been able to
establish at this present time. This week, trading accounts are being finalized. During
the following week the trade process will begin. The week thereafter, your funds should
be available to be returned back to the account of your choosing. I do understand that
this has been a longer than expected process than anyone of us had initially
thought. Your patience and understanding are greatly appreciated. At the present time
all is on schedule. If there are any delays I will update you accordingly.

Sincerely,
Richard




Richard L. Mays Jr, Esq.

MAYS, BYRD & ABSOCIATES,                P.A.

212 Center St. 7th Floor

Little Rock, Arkansas 72201-3801

tel.: (501) 372-6303 Ifax: (501) 399-9280                I toll free: (Boo) 227-1529
www.rmay~r@maysbyr_dlaw.com

www.maysbyrdlaw.com



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transmission. If you have received this transmission in error, please notify the sender by returning the transmission via First Class
US Mail and/or contacting the sender via telephone




Hadrian Fraval <Hadrian@rofin.com.au>                                                                                       Sun, Aug
                                                                                                                         26, 7:07 PM
to me

                                                                                                                        PLAINTIFF'S
                                                                                                                          EXHIBIT
                                                                                                                    I I
          Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 31 of 36




From: Richard Mays, Jr. <rmaysjr@maysbyrdlaw.com>
Sent: Thursday, November 9, 2017 9:34 PM
To: Hadrian Fraval <Hadrian@rofin.com.au>
Subject: Re: Update for return of funds

Dear Mr. Fraval,


I wanted to give you an update on what i've been able to ascertain about the return of
your funds. There was a delay as some of the compliance issues of setting up the
accounts took longer than expected, However all the accounts have been set up and I
shall get an update Friday November 10, 2017 after the close of business day. I will
update you again once I receive that information . Thank you for your patience and
understanding.
Sincerely,
Richard

From: Richard Mays, Jr. <rmaysjr@maysbyrdlaw.com>
Sent: Friday, December 1, 2017 7:32 AM
To: Hadrian Fraval <Hadrian@rofin.com.au>
Subject: Update - 11 /30/17

Dear Mr. Fraval,



All is moving as planned. The process is in structuring of the bank obligation and
separating the interest which then must be converted into a structured product and must
be in its own designated account. Then the everything must be linked to the ISIN &
CUSIP and the settlement platform. This is process does take time. In your
previous email you asked for the CUSIP and ISIN numbers. Those will be provided
once this process is finalized. Once again, as stated in the previous email, once the
structured product has been listed, upon their sale will the transactions be deemed
concluded. Until sale of the structured product, everything is secured by the bank
securities.


Richard L. Mays Jr, Esq.

MAYS, BYRD & AsSOCIA TES,    P.A.

212 Center St. 7th Floor

Little Rock, Arkansas 72201-3801

tel.: (501) 372-6303 Ifax: (501) 399-9280   I toll free: (Boo) 227-1529
             Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 32 of 36



www.rmay$_jr@maysbyrd./qµ;,.c;;9m

www.maysbyrdlaw.com



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this transmission is STRICTLY PROHIBITED. The sender has not waived any applicable privilege by sending the accompanying
transmission. If you have received this transmission in error, please notify the sender by returning the transmission via First Class
US Mail and/or contacting the sender via telephone.




 On Dec 10, 2017, at 10:57 PM, Hadrian Fraval <Hadrian@rofin.com.au> wrote:

Dear Mr Mays Jr.
Yet another 10 days has elapsed since your last e-mail. Have the transactions been
deemed concluded and the sale of the structured products started. Our partners GVGV
advise that the platform confirmed that funds will be available by 16th Dec. Please
provide the ISIN & CUSIP numbers. This will allow my funds to be released. Please
urgently advise.
Regards
Dr.Hadrian Fraval



From: Richard Mays, Jr. <rmaysjr@maysbyrdlaw.com>
Sent: Thursday, December 14, 2017 6:16 AM
To: Hadrian Fraval <Hadrian@rofin.com.au>
Subject: Re: Update - 11/30/17

Mr. Fraval,
I have received your email. I will follow up with you in the next few days.
Thanks
Richard

Sent from my iPhone
Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 33 of 36



                                  SIL GLOBAL LIMITED

   1504, Bonham Trade Centre, 50 Bonham Strand, Sheung Wan , Hong Kong

 Richard L Mays Jr. Esq.
 Mays Byrd & Associates
 212 Center St. Centre Bldg, 71ti Floor
 Little Rock, AR 72201

 Dear Mr. Mays Jr,

 Further to the Escrow Agreement dated 14th December 2016, on behalf of SIL
 Global Limited, we request that the funds (US$500,000), being held in your
 RLM Jr. Trust IV Account, {together with interest accrued and other loan
 amounts) be returned in accordance with clause 3., to                :-   Dr. Hadrian
 Nicholas Arthur Fraval, Director of SIL Global Ltd. at the following Banking co-
 ordinates:-

 Bank: St. George Bank Pty Ltd

 Account Name: Rofin Australia Pty Ltd

 Swift code: SGBLAU2S

 Account Number:

 Bank Address: Treasury Operations

 Level 12, 55 Market Street

 Sydney NSW 2000, AUSTRALIA

 Thank you for your co-operation. Failing to immediately return these funds,
 our legal team is ready to initiate proceedings to the fullest extent.




 Director SIL Global Ltd.

 23 rd April 2018
 SIL Global Ltd                                                       Company Number: 882151
 Tel: +852 8114 2684                                                   Fax: +852 3159 8467
                                          Email: info@silglobal.com




                                                                                  I        ,
                                                                                      PLAINTIFF'S
                                                                                        EXHIBIT
          Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 34 of 36




                         OF COUNSEL SERVICES
                          A Global Management Services Company
                                 1813 Tyler lane, Louisville, KY 40205
                               4040 Amaranta Ave., Palo Alto, CA 94306
                                     www .ofcounselservices.com
                                  Email: mmclark@ofcounselink.com
                                         Telephone: 813.600.8242

April 27, 2018                                                     Sent via electronic and certified mail

Richard L. Mays, Jr.
Mays, Bird Law & Associates
Attorneys at Law
212 Center Street, Centre Bldg.
Little Rock, Arkansas 72201                                                                    PLAINTIFF'S
                                                                                                 EXHIBIT
                                  Re: Return of Dr. Hadrian Fraval's Funds
                                                                                           I        10
Dear Mr. Mays, Jr.

This is further to my letter of yesterday, April 26, and our telephone conversation of the same day. This
will reiterate the previously stated demand and instruction that Dr. Fraval's $500,000 U.S. in funds {the
"Funds") placed into your firm's ...,.,_
                                   fiduciary
                                          ''·
                                              care
                                                ',,.
                                                     and control be immediately returned. {Funds sent to you
on December 16, 2016 with your receipt confirmed on December 20, 2016). This letter will confirm the
commitments you made in our phone call yesterday and request that you promptly do as promised.

    1.    You agreed to provide concrete documentation that the Mays, Bird Law Firm and yourself as
         the responsible attorney retain full fiduciary custody and control of the entirety of the Funds. In
         accordance with Paragraph 3 of the parties' escrow agreement, we insist you supply a current
         bank statement (and the most current tear sheet) showing that the Funds remain "in trust" with
         your Law Firm, thereby demonstrating to the satisfaction of my client and me that these Funds
         have not been improperly or illegally dissipated or dispersed.

    2.   You stated the funds are "blocked" and cannot be disbursed. However, you have glaringly failed
         to provide one whit of evidence. In fact, you stated that you were only told about it "verbally".
         In the absence of any written evidence of the so-called blockage, applicable law requires that
         you return the Funds as demanded. If this blockage is an administrative hold resulting from a
         transaction (e.g., term sheet) in process, you have a fiduciary duty to provide us with full
         disclosure and documentation. Your failure to release the Funds or provide full disclosure and
         supporting documentation is a very serious legal, regulatory, ethical violation. Accordingly, this
         letter demands, most emphatically, that you either provide proof of this so-called blockage or
         immediately instruct the Bank to release the funds to Dr. Fraval pursuant to the wire
         instructions provided to you. Your refusal to do either is malfeasance of the highest order.

    3.   You made reference in our call to Dwight Dubose at the Royal Swiss Capital Trust {"Swiss Trust")
         and Susan Dragoneas at The Advisory Group ("TAD"). I requested contact information for both
         individuals. You provided only Ms. Drangoneas' email. Now please provide your contact
         information for Mr. Dubose. Also, please kindly explain his relationship with Bernette Dubose,
         who is the only disclosed signatory for the Swiss Trust.
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                                                                                          Page Two

We remain hopeful this matter can be resolved amicably, without dispute. Accordingly, your prompt,
complete cooperation is expected. In its absence, I have been authorized to pursue the full range of civil
and regulatory remedies available in law and equity.

                                                                 Sincerely,




                                                                 Matthew M. Clark
                                                                 Copies to: Mr. Richard Mays, Sr. and
                                                                 Dr. Hadrian Fraval
                       Case 4:18-cv-00844-KGB Document 1 Filed 11/13/18 Page 36 of 36
5/08/2018                                                                       Deposit Account Details


                                                                                                                                                          Log Off




   x6377 - Rofin Australia Pty Ltd                                       Account:      x6377 - Rofin Australia PTY Ltd                .
        Account Activity         Account Details




        Today's Beginning Balance:                $500 000.00

                                                                              Available Balance:            $500 000.00
        Pending Transactions:                                $0.00




    \\f     Switch to Online Statements - Easy. Secure. Green,


     Account History                                                                                           Export Information   €1
    Show Last 10 days "             Type All             "   4/29/2018       IT:!             To : 5/08/2018
                                                                                                                 •        Display

                                             From Check:                               To Check:

                                   Description

    There are no transactions available for the period selected.




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                                                                                                                                              PLAINTIFF'S
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https://businessonine.tdbank.com/CorporateBankirtJWeb/Core/lnformationReportirt;J/AccountDetails.aspx?Acctlndex= 1                                                  1/1
